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1    BENJAMIN B. WAGNER
     United States Attorney
2    RICHARD J. BENDER
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2731
5
6                              IN THE UNITED STATES DISTRICT COURT
7                             FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES OF AMERICA,                    )          Case No. S 09-0211 MCE
                                                  )
10                         Plaintiff,             )
                                                  )          STIPULATION AND ORDER
11          v.                                    )          CONTINUING SENTENCING DATE
                                                  )
12   CHAD CORREIA,                                )          Old Date: May 6,2010
                                                  )          New Date: June 24, 2010, at 9:00 a.m.
13                         Defendant.             )
                                                  )
14
15          It is hereby stipulated between the parties that the sentencing hearing in the above matter as to
16   defendant Chad Correia, formerly scheduled for May 6, 2010, at 9:00 a.m., be rescheduled for June
17   24, 2010. The reason for the request is to allow the defendant to complete the terms of his plea
18   agreement and allow the government to make a complete sentencing recommendation. The
19   sentencing recommendation and timing of the sentencing concerning defendant Correia is somewhat
20   contingent on the schedule of a related case [U.S. v. Sheldon Linhares, Cr. No. S 09-0541 MCE]
21   which has a status conference scheduled for May 27, 2010. Defense counsel for defendant Correia,
22   Alan Baum, Esq., joins in this request. The Probation Officer has been notified.
23
     Dated: April 29, 2010.
24                                                BENJAMIN B. WAGNER
                                                  U.S. Attorney
25
                                                  by     /s/ Richard J. Bender
26                                                         RICHARD J. BENDER
                                                           Assistant U.S. Attorney
27
28
                                                        1
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1    [Stipulation to Continue Sentencing Date (cont.)]
2
     Dated: April 29, 2010                               /s/ Alan Baum (by RJB)
3                                                        Attorney for the Chad Correia
4
5
                                                   ORDER
6
     It is so Ordered.
7
8     Dated: April 30, 2010

9                                                   ________________________________
                                                    MORRISON C. ENGLAND, JR.
10
                                                    UNITED STATES DISTRICT JUDGE
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